              Debtors may request to receive Court notices and orders by email instead of U.S. mail. Sign Up at www.canb.uscourts.gov
Information to identify the case:
Debtor 1                 Jeffrey E DeWeese                                                      Social Security number or ITIN    xxx−xx−2134

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Northern District of California
                                                                                                Date case filed for chapter 13 6/10/19
Case number:          19−30625 HLB 13



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Jeffrey E DeWeese

2. All other names used in the
   last 8 years
                                              dba Jeffrey E DeWeese

                                              1199 Bush Street #590
3. Address                                    San Francisco, CA 94109
                                              Badma Gutchinov                                               Contact phone (415) 572−7075
4. Debtor's  attorney
   Name and address
                                              Law Offices of Badma Gutchinov
                                              P. O. Box 16431
                                              San Francisco, CA 94116

5. Bankruptcy trustee                         David Burchard                                                Contact phone (650) 345−7801
     Name and address                         P.O. Box 8059
                                              Foster City, CA 94404

6. Bankruptcy clerk's office                                                                                Hours open: 9:00 am to 4:30 pm, Monday −
     Documents in this case may be filed                                                                    Friday
                                              450 Golden Gate Avenue, 18th Fl.
     at this address.                         Mail Box 36099                                                Contact phone 415−268−2300
     You may inspect all records filed in     San Francisco, CA 94102                                       Date: 6/12/19
     this case at this office or online at
      www.pacer.gov.
                                                                                                                  For more information, see page 2




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Debtor Jeffrey E DeWeese                                                                                                                             Case number 19−30625 HLB 13

7. Meeting of creditors
    Debtors must attend the meeting to           July 18, 2019 at 10:00 AM                                                    Location:
    be questioned under oath. In a joint                                                                                     Office of the U.S. Trustee, 450 Golden Gate
    case, both spouses must attend.                                                                                          Avenue, Suite 01−5467, San Francisco, CA
    Creditors may attend, but are not            The meeting may be continued or adjourned to a later                        94102
    required to do so.                           date. If so, the date will be on the court docket.
    Important Notice to Individual Debtors: The United States Trustee requires all debtors who are individuals to provide government−issued photo identification and proof
    of social security number to the trustee at the meeting of creditors. If a debtor fails to appear, your case may be dismissed without further notice.

8. Deadlines                                      Deadline to file a complaint to challenge                                            Filing deadline: 9/16/19
   The bankruptcy clerk's office must             dischargeability of certain debts: You must file:
   receive these documents and any
   required filing fee by the following           • a motion if you assert that the debtors are not
   deadlines.                                        entitled to receive a discharge under U.S.C. §
                                                     1328(f),
                                                     or
                                                  • a complaint if you want to have a particular
                                                     debt excepted from discharge under 11
                                                     U.S.C. § 523(a)(2) or (4).
                                                  Deadline for all creditors to file a proof of claim                                  Filing deadline: 8/19/19
                                                  (except governmental units):
                                                  Deadline for governmental units to file a proof of                                   Filing deadline: 12/9/19
                                                  claim:
   For a bankruptcy case pending in
   the Northern District of California,
   a Proof of Claim may be filed        Deadlines for filing proof of claim:
   electronically online at              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
   www.canb.uscourts.gov In the          www.uscourts.gov or any bankruptcy clerk's office.
   Quick Links section, click on "File If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
   an Electronic Proof of Claim."       a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                        Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                        claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                        For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                        including the right to a jury trial.


                                                  Deadline to object to exemptions:                                                    Filing deadline:      30 days after the
                                                  The law permits debtors to keep certain property as exempt. If you                                         conclusion of the
                                                  believe that the law does not authorize an exemption claimed, you                                          meeting of creditors
                                                  may file an objection.

9. Filing of plan, Hearing on                     If the debtor has already filed a proper Chapter 13 Plan, the Plan is enclosed. If the debtor has not yet filed a
   Plan Confirmation                              proper Chapter 13 Plan, the Plan will be sent separately. The hearing on confirmation will be held:
                                                  8/21/19 at 11:00 AM , Location: U.S. Bankruptcy Court, 450 Golden Gate Ave. 16th Floor, San Francisco,
                                                  CA 94102
                                                  The case is subject to dismissal, without further notice, upon failure of the debtor to commence making
                                                  payments called for in the plan, not later than 30 days after the date of the filing of the plan or the order for relief,
                                                  whichever is earlier. At the confirmation hearing the court may dismiss or convert the case or continue the
                                                  hearing without prior notice upon a determination the debtor(s) is unable to present a feasible plan. Written
                                                  objections to confirmation of the plan must be filed with the court on or before the date stated above for the
                                                  Meeting of Creditors and served upon the trustee, Debtor(s), and Debtors' Attorney.
10. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                        extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                   any questions about your rights in this case.
11. Filing a chapter 13                            Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                                according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                                   plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                                   the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                                   debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                                   court orders otherwise.
12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                   distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                                   exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                                   the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                             Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                                   a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                                   under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                                   debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                                   discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                                   bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                                   of any of their debts under 11 U.S.C. § 1328(f), you must file a motion by the deadline.




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